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                                IJNITED STATES DISTRICT CO URT
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                                              rm ç'
                                                  roF FLORIDA
                                                caseNo.lJ -lO-+AZ
      U NITED STATES O F AM ERICA

      YS.

      JEROM E A LLEN ,

                           Defendant.
                                           /


                                   STIPIJLATED FACTUAL BA SIS
                                   I.
                                    N SUPPO RT OF GU ILTY PLEA

             JEROME ALLEN (hereinaûer refelx'
                                            ed to'as the çtdefendant''or çW11en'') hereby
      acl
        m owledgesthathadthiscaseproceededtotlial,thejynitedStateswouldestablishthefollowing
      factsbeyond al'easonable doubt:

             0n oraboutDecelnber 1,2014,in M iam i-DadeCounty,inthe Southern DistrictofFlorida,
  .
      andelsewhere,Allen(1)lmowinglyengagedandàttemptedto engageinamonetarytratuaction--
      i.e.,a withdrawal,transfer,and exchange offtmds tllrough a financial institution in a way that

      affected iùterstateconmwrce that(2)Allen lçnew involved propel-ty and fundsthatwerethe
      proceedsofsomecriminalactivity,and (3)the property and fuizdshad avalueofmorethan
      $10,000and (4)the property and ftmdswere,in fact,proceeds.of,interJ/ït'
                                                                            /,thewirefraud
      conspiracy allegcd i11theinfol-
                                    m ation.

             Specifically,onoraboutDecember1,2014,abankaccotmtcontrolledbyAllen(which
      waslocatedoutsidetheSouthenlDistrictofFlorida)received $18,000 viainterstatewirefrom a
      ballk accomltlocated in theSouthern DistrictofFlolida. The$18,000 waswired from a bank

      accountending in 8607 an accountcontrolled by Philip EsfonnesCTsfm-
                                                                        mes''l- to a ballk
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    accountendillg in 1.365 an accounçcontrotled by Allen whicl:wasopçned fortl'
                                                                               fe purposeof
    receivingandconcealingpayment:frotn Etformes.OnJahvRry 15,201r,thedefinduntwithdrew

    $t1,000'from theaccountending in 1)65,lçnowingthatthe$11,000 wd'eptoceedsbfefiminal
           ,




    acyivity.

           The defendantltllew thatthesefundswqrqtlteproceqd:ofa speçified unlawfu,
                                                                                  lactiviyy
    bccauseatthetimethedefendantreceivcdthe$18,000payment- andcertttitzadditionalpaymdnts
    byEsfonnes- hewasenployedby University1,andowedUniversity 1adutyoflzonestservices.

    Thesepaymehtswereagreedtoandacceptedinexchimgeforthedefendantimprùpetlyuslqghis
    position to pcommçnd thatlndividual 1bc admltted to University 1. W etù:
                                                                           itnotfbrthcse
    paymnhts,tbedefendanswûuld nothaveused hisposition to rrcotumend thqtlhdividvél1 be

    adm itted to University 1. The governm entwotild also havè bzen abl: to prbve that.Uljivefsity 1 ,



    lr
     eceivedinexcessof$10j000under@federalprogram ilwolvingagrant,contractorothetfotm of
    ptlblicassistjbïcedm-ingtheoaeyearperiodbetweenNovepber1,20124 andNovembcr1,2015.
           Theprecedhlg statelnentisasummary,madefûrthepurpojcofproviding theCtml-twith

    afaçlualbasisfQraguiltypkatothçchergqsggainstme.ltdpesnotincludea:
                                                                     l1thofactsltnown
    tomeconcertlingcriminalâctivityjllwhichIandothetsengaged,*
                                                             1ljlttkct'
                                                                      hisstâtemelltlçnnwingly
    andvoluntarily beçatlsela'
                             m in factguilty,ascharged inthe lnformation,

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      etn/5-//'
              ?                                               .



                                                       RONAL S.dULLIVAN,ESQ.
                                                                            .E.                                yj.y vsyyy
                                                       COUNSBL FOR JEROM E ALLEN
